PX 6
AFFIDAVIT

THE STATE OF ALABAMA
COUNTY OF HOUSTON

My name is Darrell Davis and I do solemnly swear that following is true and correct in every
particular:

1. lama 46 year old male of African-American descent.
2. Ihave known Raemonica Carney in excess of thirty years.

3. There have been several occasions I have applied for opportunities with the City of
Dothan personnel department from the early 2000’s up until 2013. I applied to
various positions from accounting to EEOC officer. I have applied for no less than
seven positions; but, probably many more. I have taken accounting exams twice
within this time period and been put on the hiring register twice. However, I have
never been afforded an interview. I currently possess a B.A. in Marketing, B.S. in
Accounting, and an M.B.A. in Finance and have years of experience in each of my
degreed fields.

My sentiments and experience have been that there is a lack of opportunity and/or
consideration for persons of African-American descent. Objectively speaking, it
appears that positions are created and announced for the minimum amount of
qualified candidates to eliminate candidates who would otherwise qualify according
to the Consent Decree and Affirmative Action Plan. In evaluating positions and the
application processes, it appears that when positions are announced and opened for
applicants there have already been internal candidates identified to fill them simply
by the criteria established for the applications. Instead of opening up candidacy to
classes that would reach the widest possible groups of applicants for positions, they
are structurally and manipulatively classed for preferential treatment. These positions
are classed, by experience and education, for candidates that are over qualified to
perform duties to prevent equality in the application process. For example, for entry
level positions, the number of years experience and education level, far exceed what
is customarily required to apply for positions in other industries and governmental
agencies elsewhere.

The entire process counteracts and contradicts not only the legal aspects, but also the
spirits, of the Consent Decree and Affirmative Action Plan. Besides the lack of
foundation and support of actively seeking minorities to establish diversity, the City
of Dothan has sought to operate from the most minimal vantage point of equality and
diversity. It has done so in at least two ways. The first is to creatively classify
positions in ways that eliminate minority applicants and/or acceptance of
applications. The second way has been to hire those who only minimally meet the
definition of equality and diversity and by this I mean Caucasian women. Evidence of
this can be proven by comparison of the number of Caucasian women employed to
other demographic populations. This means that African Americans, particularly
males, are not considered with the frequency that Caucasians are.

It is common knowledge among the African American population in the city of
Dothan, AL that they are discouraged from applying for positions. Although not
spoken publically, it is known and understood that their efforts are oftentimes
fruitless. To add insult to injury, it has been said publically by City officials that
African Americans, and other minorities, do not apply for positions. What is known
by these populations is that there is a lack of consideration for them. It has also been
stated by City officials (the Mayor, Mike Schmitz; City Manager, Mike West) that
there should be more minorities applying for police officer and fire positions. Little
do they know, that these statements in and of themselves reveal the attitude which the
City has operated from. The main question is: why do they feel that African
Americans only qualify for police and fire positions? Are they implying that African
Americans will not be considered for other positions within the City? Does the City
feel that the majority of African Americans only qualify for these positions?

Finally, I know of no instances where the City has taken any measures to actively
recruit and hire minorities. The majority of African Americans who are promoted are
within the City and have been conditioned to the prevalent inequality that exists. They
are only promoted after numerous attempts and years of service. I have spoken to the
current (Darryl Mathews) and former EEOC officers, and I have been informed that
they attend college recruitment fairs at historically Black colleges. However, so do
many other businesses and recruiters. This in no way constitutes actively recruiting
African Americans. What matters are the results achieved not the appearances. In
fact, if it is true that the City attends various recruitment fairs at many historically
Black colleges and does not find what it considers qualified candidates for positions,
it only validates the point that it is not actively seeking to hire African Americans.
And, it would be necessary to evaluate its recruitment and hiring processes of
minorities. I have even been told by the Personnel Director, Delvick Mckay, that the
City of Dothan is a difficult place for African Americans to work due to the racial
conditions that exist. He stated that those who are considered for positions must have
the ability to endure the many instances of inequality and discrimination.

Darrell Davis
VERIFICATION

Before me, the undersigned Notary Public, appeared Darrell Davis, who did sign the above
statement and said the above state

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information and belief, on this thee

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